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      COMPLAINT FOR DECLARATORY AND                                 SUMMIT LAW GROUP PLLC
      INJUNCTIVE RELIEF - 1                                         315 FIFTH AVENUE SOUTH, SUITE 1000
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 1
 2                           UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF ALASKA
 3                                  AT ANCHORAGE
 4
     BRISTOL BAY ECONOMIC
 5   DEVELOPMENT CORPORATION,                         CASE NO. 3:19-CV-00265-TMB
     BRISTOL BAY NATIVE ASSOCIATION,
 6
     INC., UNITED TRIBES OF BRISTOL                   COMPLAINT FOR
 7   BAY, BRISTOL BAY REGIONAL                        DECLARATORY AND
     SEAFOOD DEVELOPMENT                              INJUNCTIVE RELIEF
 8   ASSOCIATION, INC., and BRISTOL BAY
 9   RESERVE ASSOCIATION,                             Administrative Procedure Act, 5 U.S.C.
                                                      §§ 702–06; Clean Water Act, 33 U.S.C.
10                               Plaintiffs,          § 1251 et. seq.
11                 v.
12
     CHRIS HLADICK, in his official capacity
13   as Regional Administrator of the U.S.
14   Environmental Protection Agency,
     Region 10; MATTHEW Z. LEOPOLD, in
15   his official capacity as General Counsel for
     EPA and delegated authority of the
16   Administrator; U.S. ENVIRONMENTAL
17   PROTECTION AGENCY,

18                               Defendants.
19
20
            Plaintiffs Bristol Bay Economic Development Corporation, Bristol Bay Native
21
22   Association, Inc., United Tribes of Bristol Bay, Bristol Bay Regional Seafood Development

23   Association, Inc., and Bristol Bay Reserve Association (collectively, “Plaintiffs”) file this
24
     Complaint for Declaratory and Injunctive Relief, and allege as follows.
25
26

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                                        I.   INTRODUCTION
 1
 2          1.       The Bristol Bay watershed, and its ecologically important streams,
 3
     wetlands, lakes and ponds, provide habitat for the world’s largest wild salmon runs,
 4
     ranging from 30 to 60 million fish annually. Bristol Bay salmon are economically,
 5
 6   culturally and ecologically critical to Alaskan communities, generating $1.5 billion in

 7   annual revenue and supporting 14,000 jobs. Bristol Bay salmon have also been the
 8
     foundation of Alaska Native cultures in the region for thousands of years and continue
 9
     to sustain some of the last intact wild salmon-based cultures in the world.
10
11          2.       The proposed Pebble mine would destroy thousands of acres of critical habitat

12   and miles of salmon streams that are essential to Bristol Bay’s commercial, recreational and
13   subsistence salmon fisheries.
14
            3.       This case challenges the U.S. Environmental Protection Agency’s (EPA)
15
16   unlawful withdrawal of its Proposed Determination that development of the Pebble deposit

17   in the headwaters of Bristol Bay, Alaska could result in significant and unacceptable adverse
18   effects on ecologically important streams, wetlands, lakes, and ponds and the world-class
19
     fishery they support. 84 Fed. Reg. 45,749 (Aug. 30, 2019).
20
21          4.       EPA issued its Proposed Determination in July 2014 pursuant to Section

22   404(c) of the Clean Water Act (“CWA”), 33 U.S.C. §1251 et. seq. See U.S. Envtl. Prot.
23   Agency, Proposed Determination of the U.S. Environmental Protection Agency Region
24
     10 Pursuant to Section 404(c) of the Clean Water Act: Pebble Deposit Area, Southwest
25
     Alaska (2014) (“Proposed Determination”).
26

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           5.     In the Proposed Determination, EPA found that “Alaska’s Bristol Bay
 1
 2   watershed . . . is an area of unparalleled ecological value, boasting salmon diversity and
 3   productivity unrivaled anywhere in North America.” Proposed Determination at ES-1.
 4
           6.     To protect these nationally and globally significant resources, EPA
 5
     proposed restricting “discharge of dredged or fill material related to mining the Pebble
 6
 7   deposit into waters of the United States. …” Proposed Determination at 5-1.

 8         7.     In 2014, Pebble Limited Partnership (“PLP”), the proponent of the Pebble
 9
     mine, sued EPA in three separate lawsuits. In May 2017, EPA and PLP settled the
10
     litigation. Settlement Agreement between EPA and Pebble Limited Partnership
11
12   (May 11, 2017) (“Settlement Agreement”).

13         8.     Under the Settlement Agreement, EPA committed to “initiate a process to
14
     propose to withdraw the Proposed Determination.” Settlement Agreement, ¶ III.A.5.
15
           9.     As required by the Settlement Agreement, EPA issued a proposal to
16
17   withdraw the Proposed Determination in July 2017 and requested public comments.

18   Proposal to Withdraw Proposed Determination to Restrict the Use of an Area as a
19
     Disposal Site; Pebble Deposit Area, Southwest Alaska, 82 Fed. Reg. 33,123 (July 19,
20
     2017) (“Proposal to Withdraw”).
21
22         10.    After receiving over a million comments, the overwhelming majority in

23   opposition to EPA’s proposal to withdraw the Proposed Determination, EPA decided to
24
     leave the Proposed Determination “in place pending further consideration by the
25
     Agency of information that is relevant to the protection of the world-class fisheries
26

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     contained in the Bristol Bay watershed.” Notice of the decision was published in the
 1
 2   Federal Register on February 28, 2018. 83 Fed. Reg. 8,668-8,671 (Feb. 28, 2018).
 3         11.    Subsequently, without any “further consideration,” EPA reversed course,
 4
     announcing its decision to withdraw the Proposed Determination on July 30, 2019.
 5
     Notice of the decision was published in the Federal Register on August 30, 2019.
 6
 7   84 Fed. Reg. 45,749.

 8         12.    Plaintiffs seek vacatur of EPA’s decision to withdraw the Proposed
 9
     Determination and declaratory and injunctive relief because the decision is arbitrary,
10
     capricious, an abuse of discretion, and not in accordance with law.
11
12                           II. JURISDICTION AND VENUE

13         13.    This action arises under the CWA, 33 U.S.C. § 1251 et. seq., and the
14
     Administrative Procedure Act (APA), 5 U.S.C. §§ 702–06. This Court has jurisdiction
15
16   over the parties and subject matter of this action pursuant to 28 U.S.C. § 1331 (federal

17   question jurisdiction) and §§ 2201–02 (declaratory judgment).
18         14.    Venue is proper in the District of Alaska under 28 U.S.C. § 1391 because
19
     a substantial part of the events giving rise to the claims occurred within the District of
20
21   Alaska and the waters, wetlands, and wildlife at issue are in Alaska.

22                                      III. PARTIES

23
     A.    Plaintiffs
24
           15.    Plaintiff Bristol Bay Economic Development Corporation (“BBEDC”) is
25
     a 501(c)(4) non-profit corporation whose mission is to promote economic growth and
26

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     opportunities for residents of its member communities through sustainable use of the
 1
 2   Bristol Bay and Bering Sea resources. BBEDC undertakes programs and management
 3   to foster economic and social benefits for the residents and communities of Bristol Bay
 4
     in order to ensure sustainability of the region’s renewable natural resources, including
 5
     its salmon fisheries and other fish stocks and fisheries.
 6
 7         16.    Plaintiff Bristol Bay Native Association, Inc. (“BBNA”) is a non-profit

 8   corporation and tribal consortium whose mission is to advance the social, cultural, and
 9
     economic interests of the Tribes and Alaska Native people of the Bristol Bay Region
10
     including by prioritizing protection of Bristol Bay’s salmon fisheries (commercial,
11
12   subsistence and sport) and salmon habitat in all land management decisions.

13         17.    Plaintiff United Tribes of Bristol Bay (“UTBB”) is a tribally chartered
14
     consortium of fifteen federally recognized tribes in Bristol Bay. Each member tribe
15
     passed a tribal resolution delegating its governmental powers to UTBB to implement
16
17   the Bristol Bay Regional Visioning Project, a region-wide action plan developed by

18   Bristol Bay’s tribal communities focused on improving economic development
19
     opportunities, preserving cultural and subsistence resources, and increasing educational
20
     opportunities for tribal youth. UTBB is organized as a consortium of tribal governments
21
22   working to protect the traditional way of life of the indigenous people of Bristol Bay

23   and the natural resources upon which that way of life depends. UTBB’s mission is to
24
     advocate for sustainable communities through development consistent with our
25
     traditional values.
26

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            18.     Plaintiff Bristol Bay Regional Seafood Development Association, Inc.
 1
 2   (“BBRSDA”) is a 501(c)(6) non-profit corporation, established in 2005 to implement
 3   the provisions of AS 44.33.065. BBRSDA’s mission is to maximize the value of the
 4
     Bristol Bay fishery for the benefit of its members, and it works to achieve this mission
 5
     through strategies focused on marketing, quality, and sustainability. BBRSDA’s
 6
 7   membership consists of all 1,863 Bristol Bay salmon driftnet (S03T) permit holders and

 8   operates a successful branding/marketing program for Bristol Bay Sockeye Salmon
 9
     which relies heavily on the fishery’s abundance and positive reputation for pristine
10
     habitat.
11
12          19.     Plaintiff Bristol Bay Reserve Association (“BBRA”) is a non-profit

13   corporation which was established in 2013. BBRA’s mission is to promote the interests
14
     of its members who own commercial fishing vessels and participate in the Bristol Bay
15
     commercial salmon drift fishery. BBRA has approximately three hundred and fifty
16
17   (350) member vessel owners. Approximately twenty-five percent (25%) of the vessels

18   participating in the Bristol Bay commercial salmon drift fishery are BBRA member
19
     vessels.
20
            20.     Plaintiffs and their members and supporters have long-standing interests
21
22   in the world-class fisheries of Bristol Bay. Plaintiffs’ staff and members live and/or

23   work in Bristol Bay and near the Pebble deposit area. Plaintiffs’ interests in the
24
     environmental and aquatic resources protected by EPA’s Proposed Determination are
25
26

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     legally protected under the CWA. Each Plaintiff submitted comments on the Proposed
 1
 2   Determination, and on EPA’s proposal to withdraw the Proposed Determination.
 3          21.   EPA’s decision to withdraw the Proposed Determination has caused and
 4
     will continue to cause actual, concrete injuries to Plaintiffs, their members and staff
 5
     unless redressed by the relief sought in this case.
 6
 7   B.     Defendants
 8
            22.   Defendant Chris Hladick is the Regional Administrator of Region 10 of
 9
10   EPA and is sued in his official capacity.

11          23.   Defendant Matthew Z. Leopold is General Counsel for EPA, acting by
12   delegated authority for the EPA Administrator, and is sued in his official capacity.
13
            24.   Defendant EPA is the federal agency responsible for implementing and
14
15   enforcing a variety of federal environmental laws, including the CWA. Specifically,

16   EPA is charged with oversight of the permitting program under Section 404 of the
17   CWA.
18
                             IV. STATUTORY FRAMEWORK
19
20   A.     The Clean Water Act

21          25.   Congress enacted the CWA in 1972 to “restore and maintain the chemical,
22
     physical, and biological integrity of the Nation’s waters.” 33 U.S.C. § 1251(a).
23
24
25
26

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            26.    Congress established several goals for the Act, including attainment and
 1
 2   preservation of “water quality which provides for the protection and propagation of fish,
 3   shellfish, and wildlife. . .” 33 U.S.C. § 1251(a)(2).
 4
            27.    To further these goals, Congress prohibited “discharge of any pollutant”
 5
     into navigable waters except in accordance with the CWA. 33 U.S.C. § 1311(a).
 6
 7          28.    Congress delegated authority to the U.S. Army Corps of Engineers

 8   (“Corps”) to issue permits for the discharge of dredged or fill material under Section
 9
     404 of the CWA. 33 U.S.C. § 1344.
10
            29.    In its permit review, the Corps must evaluate applications under a public
11
12   interest review, as well as the environmental criteria set forth in the CWA Section

13   404(b)(1) Guidelines, regulations promulgated by EPA. See 33 C.F.R. Part 320,
14
     40 C.F.R. Part 230.
15
            30.    The Guidelines prohibit the permitting of any discharge of dredged or fill
16
17   material: (1) if a practicable alternative to the proposed discharge would have less

18   adverse impact on the aquatic ecosystem; (2) if the discharge will cause or contribute to
19
     significant degradation of the environment; (3) if the discharge will cause or contribute
20
     to violations of water quality standards; and (4) unless all appropriate steps have been
21
22   taken to minimize potential adverse impacts. 40 C.F.R. § 230.10.

23          31.    Under Section 404(c), Congress gave the EPA Administrator the authority
24
     “to prohibit the specification (including the withdrawal of specification) of any defined
25
     area as a disposal site, and he is authorized to deny or restrict the use of any defined area
26

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     for specification (including the withdrawal of specification) as a disposal site, whenever
 1
 2   he determines, after notice and opportunity for public hearings, that the discharge of
 3   such materials into such area will have an unacceptable adverse effect on municipal
 4
     water supplies, shellfish beds and fishery areas (including spawning and breeding
 5
     areas), wildlife, or recreational areas.” 33 U.S.C. § 1344(c); 40 C.F.R. § 231.1(a). CWA
 6
 7   404(c) is commonly referred to as EPA’s “veto authority” because Congress authorized

 8   EPA to preclude or override the Corps’ decision to issue a 404 permit.
 9
           32.    An “unacceptable adverse effect” is an “impact on an aquatic or wetland
10
     ecosystem which is likely to result in significant degradation of municipal water
11
12   supplies (including surface or ground water) or significant loss of or damage to fisheries,

13   shellfishing, or wildlife habitat or recreation areas. In evaluating the unacceptability of
14
     such impacts, consideration must be given to the relevant portions of the Section
15
     404(b)(1) [G]uidelines (40 CFR part 230).” 40 C.F.R. § 231.2(e).
16
17         33.    In making a decision under 404(c), the EPA Administrator must “take into

18   account all information available to him, including any written determination of
19
     compliance with the Section 404(b)(1) Guidelines.” 40 C.F.R. § 231.1(a).
20
           34.    If the Regional Administrator has reason to believe that an “unacceptable
21
22   adverse effect” could result from using a defined area for the disposal of dredged or fill

23   material, the Regional Administrator must notify the Corps of his intent to issue a public
24
     notice of a proposed determination. 40 C.F.R. § 231.3(a)(1).
25
26

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            35.    After the Corps receives the Regional Administrator’s notice, it “will not”
 1
 2   issue a 404 permit for the defined area. 33 C.F.R. § 323.6(b). However, the Corps may
 3   process a permit application while a Section 404(c) review is underway. Id.
 4
            36.    Separate from the Section 404(c) process, Section 404(q) of the CWA
 5
     authorizes EPA and the Corps to enter into agreements to minimize the delays in the
 6
 7   issuance of Section 404 permits. 33 U.S.C. § 1344(q). Pursuant to Section 404(q), EPA

 8   and the Corps have executed a Memorandum of Agreement (“MOA”) that sets forth
 9
     procedures through which EPA can elevate its concerns about pending permit
10
     applications. Memorandum of Agreement Between the EPA and the Department of the
11
12   Army           7-8          (Aug.           11,          1992),              available                  at

13   https://www.epa.gov/sites/production/files/2015-06/documents/1992_moa_404q.pdf.
14
            37.    Under the MOA, if EPA believes that a permit “may result in substantial and
15
     unacceptable impacts to aquatic resources of national importance” it must send the Corps a
16
17   letter during the public comment period for the permit application. MOA at 7. After sending

18   the Corps its letter, EPA has 25 calendar days to determine whether a “discharge will have
19
     a substantial and unacceptable impact” and notify the Corps of its conclusion. Id. A finding
20
     that a discharge will have a substantial and unacceptable adverse impact triggers
21
22   consultation procedures between the Corps and EPA. However, the Corps may still issue a

23   permit if, after the end of consultation, it disagrees with EPA. See id. at 8–10.
24
25
26

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     B.    The Administrative Procedure Act
 1
 2         38.      The Administrative Procedure Act (“APA”) requires a court to “hold
 3
     unlawful and set aside agency action, findings, and conclusions found to be . . . arbitrary,
 4
     capricious, an abuse of discretion, or otherwise not in accordance with law.” 5 U.S.C.
 5
 6   § 706(2)(A).

 7         39.      An agency’s analysis is arbitrary and capricious if it has “relied on factors
 8
     which Congress has not intended it to consider, entirely failed to consider an important
 9
     aspect of the problem, offered an explanation for its decision that runs counter to the
10
11   evidence before the agency, or is so implausible that it could not be ascribed to a

12   difference in view or the product of agency expertise.” Ctr. for Biological Diversity v.
13   Bureau of Land Mgmt., 833 F.3d 1136, 1146 (9th Cir. 2016).
14
           40.      Under the APA, an agency “must examine the relevant data and articulate
15
16   a satisfactory explanation for its action, including a rational connection between the

17   facts found and the choice made.” Humane Soc’y of the U.S. v. Locke, 626 F.3d 1040,
18   1048 (9th Cir. 2010); Motor Vehicle Mfrs. Ass’n of the U.S., Inc. v. State Farm Mut.
19
     Auto. Ins. Co., 463 U.S. 29, 43, 103 S. Ct. 2856 (1983).
20
21         41.      An agency’s change in position is arbitrary and capricious under the APA

22   unless the agency (1) displays “awareness that it is changing position,” (2) shows that
23   “the new policy is permissible under the statute,” (3) “believes” the new policy is better,
24
     and (4) provides “good reasons” for the new policy, which, if the “new policy rests upon
25
     factual findings that contradict those which underlay its prior policy,” must include “a
26

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     reasoned explanation . . . for disregarding facts and circumstances that underlay or were
 1
 2   engendered by the prior policy.” FCC v. Fox Television Stations, Inc., 556 U.S. 502,
 3   515–516, 129 S. Ct. 1800 (2009).
 4
           42.    Although an agency is entitled to change its course when its view of what
 5
     is in the public’s interest changes, the “agency changing its course must supply a
 6
 7   reasoned analysis indicating that prior policies and standards are being deliberately

 8   changed, not casually ignored, and if an agency glosses over or swerves from prior
 9
     precedents without discussion it may cross the line from the tolerably terse to the
10
     intolerably mute.” Nw. Envtl. Def. Ctr. v. Bonneville Power Admin., 477 F.3d 668, 687-
11
12   88 (9th Cir. 2007).

13                             V. FACTUAL BACKGROUND
14
           43.    The Bristol Bay watershed is a pristine and intact environment. Proposed
15
16   Determination at ES-1. As Former EPA Regional Administrator Dennis McLerran

17   noted, the streams, rivers, wetlands, lakes, and other waters of Bristol Bay “comprise
18   one of the most productive, pristine, valuable, and vulnerable ecosystems remaining in
19
     North America today.” Dennis McLerran, Letter, EPA Regional Administrator, to
20
21   Thomas Collier, et al., Feb. 28, 2014 at 1.

22         44.    The Bristol Bay watershed also supports the largest sockeye salmon
23   fishery in the world. Id. at 2. Nearly half of the world’s sockeye salmon catch comes
24
     from Bristol Bay. EPA, An Assessment of Potential Mining Impacts on Salmon
25
     Ecosystems of Bristol Bay, Alaska (2014) (EPA 910-R-14-001C) (“Watershed
26

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     Assessment”), at 1-1. The Bristol Bay fishery drives a regional economy, with far-
 1
 2   reaching impacts throughout Alaska down to the lower-48. See U.S. Army Corps of
 3   Engineers, Pebble Project EIS Draft Environmental Impact Statement (“Draft EIS”),
 4
     Feb. 2019, at 3.6-5, 3.6-13 to 3.6-14.
 5
           45.    Many of those in the Bristol Bay region, including Plaintiffs’ members,
 6
 7   lead a subsistence way of life, and are dependent on the fisheries and wildlife of the

 8   Bristol Bay watershed. EPA, Frequently Asked Questions about Bristol Bay 404c
 9
     Process, available at https://www.epa.gov/bristolbay/frequently-asked-questions-about-
10
     bristol-bay-404c-process; Proposed Determination at ES-1 and 3-52.
11
12         46.    The Bristol Bay watershed also supports a prolific outdoor recreation

13   industry dependent on the thriving fishery. See Letter from 43 Senators and
14
     Congressman to President Trump, Oct. 11, 2017; Proposed Determination at 6-2 to 6-3.
15
           47.    Given these significant resources, and the threat posed by potential mining,
16
17   in 2010, six federally recognized tribes, all of whom later founded Plaintiff UTBB,

18   petitioned EPA to exercise its authority under Section 404(c) of the CWA to protect the
19
     Nushagak and Kvichak watersheds from development of the Pebble deposit. Joint Letter
20
     from Nondalton Tribal Council, Koliganik Village Council, New Stuyahok Traditional
21
22   Council, Ekwok Village Council, Curyung Tribal Council, and Levelock Village

23   Council, to Lisa P. Jackson, Administrator: U.S. Envtl. Prot. Agency, & Dennis J.
24
     McLerran, Regional Administrator: U.S. Envtl. Prot. Agency, Region 10 (May 2, 2010).
25
26

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           48.    In response, EPA initiated a scientific assessment “to determine the
 1
 2   significance of Bristol Bay’s ecological resources and evaluate the potential impacts of
 3   large-scale mining on these resources.” Watershed Assessment at ES-1.
 4
     A.    The Bristol Bay Watershed Assessment
 5
 6         49.    Explaining its decision to undertake the Watershed Assessment, EPA
 7
     stated “[b]ased upon information known to EPA about the proposed mine at the Pebble
 8
     deposit and its potential impacts on fishery resources, and as a result of multiple
 9
10   inquiries, concerns, and petitions to EPA to use its authorities to protect these fishery

11   resources, EPA decided to conduct an ecological risk assessment before considering any
12   additional steps” under 404(c). Proposed Determination at ES-3.
13
           50.    The Watershed Assessment was the result of “three years of study, two
14
15   rounds of public comment, and independent, external peer review.” Id. at ES-3; see also

16   2-7, 2-9 to 2-10.
17         51.    In the Watershed Assessment, EPA identified and considered three mining
18
     scenarios. Watershed Assessment at ES-10. The three mining scenarios “represent
19
20   different stages of mining at the Pebble deposit, based on the amount of ore processed:

21   Pebble 0.25 (approximately .25 billion tons . . . of ore over 20 years), Pebble 2.0
22   (approximately 2.0 billion tons . . . of ore over 25 years), and Pebble 6.5 (approximately
23
     6.5 billion tons . . . of ore over 78 years).” Id. The major components of the mine
24
     scenarios considered included an open pit mine, waste rock piles, and one or more
25
26   tailing storage facilities, and an 86-mile transportation corridor within the Kvichak

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     River watershed that includes a gravel-surfaced road, four pipelines and a port. Id. These
 1
 2   scenarios were based on “preliminary mine details put forth in Northern Dynasty
 3   Minerals’1 Preliminary Assessment of the Pebble Mine (Ghaffari et al. 2011)” and
 4
     scientific information from mines around the world. Id. at 6-1.
 5
           52.    EPA recognized that, “[t]he exact details of any future mine plan for the
 6
 7   Pebble deposit or for other deposits in the watershed will differ from our mine

 8   scenarios.” Id. at ES-10. The uncertainty about the specific future mine plans was
 9
     irrelevant because EPA’s “scenarios reflect[ed] the general characteristics of mineral
10
     deposits in the watershed, modern conventional mining technologies and practices, the
11
12   scale of mining activity required for economic development of the resource, and the

13   infrastructure needed to support large-scale mining.” Id. As a result, EPA stated that the
14
     three mining scenarios considered in the Watershed Assessment “realistically represent
15
     the type of development plan that would be anticipated for a porphyry copper deposit in
16
17   the Bristol Bay watershed.” Id.

18         53.    EPA found that even the smallest mine scenario of 0.25 billion tons of ore
19
     over 20 years would: (1) eliminate, block or dewater 38 kilometers of streams;
20
     (2) eliminate, block or dewater 8 kilometers of anadromous steams; (3) alter 20% or
21
22   more of streamflow in 15 kilometers of stream; (4) result in direct toxicity to

23   invertebrates in 21 kilometers of stream; (5) result in the loss of 4.9 square kilometers
24
25    1
        The Pebble Limited Partnership (“PLP) is a subsidiary of Northern Dynasty Minerals.
26   Proposed Determination at ES-5, n.4.

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     of wetlands, lakes, and ponds from the mine footprint; (6) result in an unquantifiable
 1
 2   loss of streams from reduced streamflow below the mine footprint; and (7) impact 4.7
 3   square kilometers of wetlands, lakes, and ponds from the access road. Watershed
 4
     Assessment at ES-18.
 5
 6   B.    The Proposed Determination Findings

 7
           54.    Based on the scientific findings in the Watershed Assessment, EPA
 8
     concluded in the Proposed Determination that “mining of the Pebble deposit at any of
 9
10   [the three mining scenarios identified,] even the smallest, could result in significant and

11   unacceptable adverse effects on ecologically important streams, wetlands, lakes, and
12   ponds and the fishery areas they support.” Proposed Determination at ES-5.
13
           55.    EPA stated, the “[Watershed] Assessment established that the extraction,
14
15   storage, treatment, and transportation activities associated with building, operating, and

16   maintaining one of the largest mines ever built would pose significant risks to the
17   unparalleled ecosystem that produces one of the greatest wild salmon fisheries left in
18
     the world. In simple terms, the infrastructure necessary to mine the Pebble deposit
19
20   jeopardizes the long‐term health and sustainability of the Bristol Bay ecosystem.”

21   Proposed Determination at ES-3.
22
           56.    The Proposed Determination characterized the potential adverse impacts
23
     identified by the Watershed Assessment as an underestimate because EPA only
24
25   considered “the footprint impacts associated with the mine pit, [tailing storage

26   facilities], and waste rock piles” and not the additional support facilities necessary for

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     mining in the region. Proposed Determination at 2-17. The EPA also did not consider
 1
 2   impacts “from potential accidents and failures as a basis for its findings” despite the
 3   “high likelihood” that a failure would occur. Id. at ES-6.
 4
           57.    In the Proposed Determination, EPA found that loss of headwaters in
 5
     Bristol Bay would: “fundamentally alter surface and groundwater hydrology and, in
 6
 7   turn, the flow regimes of receiving—or formerly receiving—streams. Such alterations

 8   would reduce the extent and frequency of stream connectivity to off-channel habitats,
 9
     as well as reduce groundwater inputs and their modifying influence on the thermal
10
     regimes of downstream habitats …. These lost streams also would no longer support or
11
12   export macroinvertebrates, which are a critical food source for developing alevins,

13   juvenile salmon, juvenile northern pike, and all life stages of other salmonids and forage
14
     fish.” Proposed Determination at 4-9.
15
           58.    EPA found that “[t]he greatest impacts would be at the [tailings storage
16
17   facility] location in the [North Fork Koktuli] watershed. Coho salmon spawn or rear in

18   nearly 50% of the stream length within the [tailings storage facility] footprint.”
19
     Proposed Determination at 4-4.
20
           59.    EPA recognized that the impacts would be far-reaching: “the coho salmon
21
22   streams that the Pebble 0.25 stage mine would eliminate or dewater likely play an

23   important role in the life cycle of that species in all three watersheds.” Proposed
24
     Determination at 4-6.
25
26

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           60.      EPA found that the 0.25 mine scenario would result in the elimination,
 1
 2   dewatering, or fragmenting of nearly 5 miles of streams with documented occurrence of
 3   anadromous fish and approximately 19 miles of tributaries to anadromous fish streams.
 4
     Proposed Determination at 4-17. EPA found that this would be “an unprecedented
 5
     impact in Alaska” and the “effects of their loss would reverberate to downstream
 6
 7   habitats and affect species such as coho, Chinook, sockeye, and chum salmon.” Id.

 8   at 4-19.
 9
           61.      EPA concluded that the loss of these headwater tributaries could have
10
     unacceptable adverse effects on fishery areas. Proposed Determination at 4-19.
11
12         62.      EPA found that the 0.25 mine scenario would eliminate, dewater, or

13   fragment more than 1,200 acres of wetlands, lakes, and ponds, of which approximately
14
     1,100 of those acres are contiguous with anadromous streams or their tributaries.
15
     Proposed Determination at 4-20.
16
17         63.      EPA found that the loss of these wetlands, lakes, and ponds would be “a

18   very large and unprecedented impact under the CWA Section 404 regulatory program
19
     in Alaska.” Proposed Determination at 4-21.
20
           64.      EPA found that the 0.25 mine would consume large volumes of water
21
22   drawn from surface and groundwater sources. Proposed Determination at 4-22. The

23   Watershed Assessment calculated that the 0.25 mine would reduce flow in more than
24
     45 miles of streams. Id. at 4-23. The adverse impacts from streamflow alteration “could
25
     jeopardize the long-term sustainability of these fisheries.” Id. at 4-27. EPA found that
26

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     drawdown would alter stream flows by more than 20% in approximately 9 miles of
 1
 2   stream and that such a change could pose unacceptable adverse impacts to the salmon
 3   fisheries of both the South and North Fork of the Koktuli. Id. at 4-28.
 4
           65.    EPA found that “areas that do not support salmon for many years are not
 5
     likely to become productive again . . . . Both the 20-year life of the Pebble 0.25 stage
 6
 7   mine and the 40 years or more during which dewatering would persist are many times

 8   longer than the 2- to 5-year life span of coho and Chinook salmon. Thus, as successive
 9
     year classes of salmon return and are unable to reach their natal spawning grounds and
10
     produce fry, the cycle of spawning would be interrupted …. The substantial spatial and
11
12   temporal extent of stream habitat losses to the Pebble 0.25 stage mine suggest that these

13   losses would reduce the overall capacity and productivity of Chinook, and particularly
14
     coho, salmon in the [South Fork Koktuli, North Fork Koktuli, and Upper Talarik Creek]
15
     watersheds.” Proposed Determination at 4-7.
16
17         66.    Based on the findings in the Proposed Determination and the Watershed

18   Assessment, EPA proposed restrictions on “the discharge of dredged or fill material
19
     related to mining the Pebble deposit into waters of the United States within the potential
20
     disposal site …” Proposed Determination at 5-1.
21
22         67.    EPA received over 670,000 comments on the Proposed Determination

23   with 99% of those comments supporting the Determination.
24
25
26

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     C.    EPA Considered Withdrawing the Proposed Determination Satisfying its
 1
           Obligations under a Settlement Agreement with PLP
 2
           68.    In May 2014, PLP sued EPA, challenging EPA’s authority to utilize
 3
 4   Section 404(c) prior to PLP submitting a permit application. See Pebble Ltd. P’ship v.

 5   United States Envtl. Prot. Agency, 155 F. Supp. 3d 1000, 1004 (D. Alaska 2014), aff’d
 6
     sub nom. Pebble Ltd. P’ship v. U.S. E.P.A., 604 F. App’x 623 (9th Cir. 2015). In
 7
     September 2014, PLP sued EPA, alleging that EPA created committees with scientists
 8
 9   and environmental groups opposed to the mine in violation of the Federal Advisory

10   Committee Act (“FACA”). See Pebble Ltd. P’ship v. Envtl. Prot. Agency, 310 F.R.D.
11
     575, 578 (D. Alaska 2015). In October 2014, PLP sued EPA over failures to comply
12
     with the Freedom of Information Act (“FOIA”). See Pebble Ltd. P’ship v. United States
13
14   Envtl. Prot. Agency, No. 3:14-CV-0199- HRH, 2016 WL 128088, at *1 (D. Alaska

15   Jan. 12, 2016).
16
           69.    The first case, challenging EPA’s authority under 404(c), was resolved in
17
     EPA’s favor. The Ninth Circuit affirmed the district court’s holding that EPA’s
18
19   initiation of the 404(c) process did not constitute final agency action. Pebble Ltd. P’ship,

20   604 F. App’x at 625.
21
           70.    In May 2017, EPA and PLP settled the remaining litigation over
22
     compliance with FACA and FOIA. Settlement Agreement between EPA and Pebble
23
24   Limited Partnership (May 11, 2017).

25
26

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            71.   Under the Settlement Agreement, EPA committed to “initiate a process to
 1
 2   propose to withdraw the Proposed Determination ….” Settlement Agreement at
 3   ¶ III.A.5.
 4
            72.   The settlement precluded EPA from proceeding under 404(c) with a
 5
     Recommended Determination until the notice of the final environmental impact
 6
 7   statement (EIS) regarding PLP’s permit application was published in the Federal

 8   Register or 48 months from the effective date of the settlement, whichever was earlier
 9
     in time. Settlement Agreement, ¶ III.A.1. Neither triggering event has occurred yet. The
10
     Corps anticipates releasing a final EIS in early 2020; the 48-month period from the
11
12   settlement date would expire in March 2021. See U.S. Army Corps of Engineers, Pebble

13   Project EIS, EIS Schedule, https://pebbleprojecteis.com/schedule.
14
            73.   The settlement allowed EPA to “use the Bristol Bay Watershed
15
     Assessment without any limitation.” Settlement Agreement, ¶ III.A.3.
16
17          74.   As required by the Settlement Agreement, EPA issued a proposal to

18   withdraw the Proposed Determination in July 2017 and requested public comments.
19
     Proposal to Withdraw, 82 Fed. Reg. 33,123.
20
            75.   EPA gave three reasons to support the proposed withdrawal. First, it noted
21
22   that the “proposal reflects the Administrator’s decision to provide PLP with additional

23   time to submit a permit application and potentially allow the Army Corps permitting
24
     process to initiate without having an open and unresolved Section 404(c) review.” 82
25
     Fed. Reg. at 33,124. Second, EPA wanted to “remove any uncertainty, real or perceived,
26

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     about PLP’s ability to submit a permit application and have that permit application
 1
 2   reviewed.” Id. Lastly, EPA asserted that withdrawing the Proposed Determination
 3   would allow “the factual record regarding any forthcoming permit application to
 4
     develop ….” Id.
 5
            76.    EPA acknowledged that a pending “Section 404(c) process did not prohibit
 6
 7   PLP from filing a permit application and the Army Corps could have processed such a

 8   permit application while a Section 404(c) review was ongoing.” 82 Fed. Reg. at 33,123.
 9
            77.    In the notice for the Proposal to Withdraw, EPA limited its request for
10
     comments to the reasons it offered for withdrawing the Proposed Determination. 82 Fed.
11
12   Reg. at 33,124.

13          78.    EPA stated that it was not “soliciting comment on the proposed restrictions
14
     or on science or technical information underlying the Proposed Determination.” 82 Fed.
15
     Reg. at 33,124.
16
17          79.    On December 22, 2017, PLP submitted a Section 404 permit application to the

18   Corps. 84 Fed. Reg. at 45,750. On January 5, 2019 the Corps issued a public notice of PLP’s
19
     permit application and the Corps’ determination that an EIS would be required for review of
20
     the permit application. Id.
21
22          80.    On January 31, 2018, in an internal EPA presentation for EPA’s Office of

23   Federal Activities, EPA stated that the withdrawal was proposed based on policy
24
     rationale and reiterated that EPA did not solicit comment on the proposed restrictions
25
     or on science or technical information underlying the Proposed Determination.
26

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     D.     EPA Decided Not to Withdraw its 404(c) Proposed Determination Pending
 1
            Further Consideration of Substantive Information
 2
            81.    After receiving more than one million comments, with “[a]n
 3
 4   overwhelming majority express[ing] opposition to withdrawal of the Proposed

 5   Determination,” EPA decided not to withdraw the Proposed Determination. Notification
 6
     of Decision Not To Withdraw Proposed Determination to Restrict the Use of an Area
 7
     as a Disposal Site; Pebble Deposit, Area, Southwest Alaska, 83 Fed. Reg. 8,668-8,671
 8
 9   (Feb. 28, 2018); see also EPA, EPA’s Work in the Bristol Bay Watershed, Presentation

10   for Office of Federal Activities, Jan. 31, 2018, at 16 (approximately 99% of the more
11
     than one million comments opposed withdrawal).
12
            82.    Addressing the decision not to withdraw the Proposed Determination,
13
14   then-Administrator Scott Pruitt noted, “it is my judgment at this time that any mining

15   projects in the region likely pose a risk to the abundant natural resources that exist there.
16
     Until we know the full extent of that risk, those natural resources and world-class
17
     fisheries deserve the utmost protection. Today’s action allows EPA to get the
18
19   information needed to determine what specific impacts the proposed mining project will

20   have on those critical resources.” EPA, News Release, EPA Administrator Scott Pruitt
21
     Suspends Withdrawal of Proposed Determination in Bristol Bay Watershed, Will Solicit
22
     Additional Comments, Jan. 26, 2018.
23
24          83.    In its decision not to withdraw the Proposed Determination, EPA

25   recognized that because PLP had submitted its CWA permit application, “Region 10
26

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     will not forward a signed Recommended Determination, if such a decision is made,
 1
 2   before either May 11, 2021, or public notice of a final EIS on PLP’s Section 404 permit
 3   application regarding the Pebble deposit, whichever comes first.” 83 Fed. Reg. at 8,670.
 4
           84.    Rejecting the rationale that the Proposed Determination should be
 5
     withdrawn in order to allow the “factual record for [the] Section 404 permit application
 6
 7   to develop,” EPA concluded: “[T]hat the factual record regarding the permit application

 8   can develop notwithstanding the Proposed Determination. EPA has discretion to
 9
     consider that factual record after it has been further developed before Region 10
10
     determines whether to forward a signed Recommended Determination to EPA
11
12   Headquarters and, if such a decision is made, to determine the contents of such a

13   Recommended Determination. As such, this reason does not support withdrawal of the
14
     Proposed Determination at this time.” 83 Fed. Reg. at 8,670.
15
           85.    EPA’s decision not to withdraw “leaves [the Proposed] Determination in
16
17   place pending consideration of any other information that is relevant to the protection

18   of the world-class fisheries contained in the Bristol Bay watershed in light of the permit
19
     application that has now been submitted to the Corps.” 83 Fed. Reg. at 8,670.
20
           86.    Further, EPA’s decision not to withdraw the Proposed Determination
21
22   states that “[t]he Agency intends at a future time to solicit public comment on what

23   further steps, if any, the Agency should take under Section 404(c) to prevent
24
     unacceptable adverse effects to the watershed’s abundant and valuable fishery resources
25
26

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     in light of the permit application that has now been submitted to the U.S. Army Corps
 1
 2   of Engineers.” 83 Fed. Reg. at 8,668.
 3         87.    Because EPA decided to leave the Proposed Determination in place, it
 4
     found “comments stating that EPA cannot withdraw a Proposed Determination without
 5
     considering the proposed restrictions or the science or technical information underlying
 6
 7   the Proposed Determination . . . . moot.” 83 Fed. Reg. at 8,670.

 8         88.    EPA’s decision not to withdraw also found “that there is good cause under
 9
     40 CFR 231.8 to extend the regulatory time frames in 40 CFR 231.5(a) in order to allow
10
     for an additional public comment period and to align with the timeframes established in
11
12   the settlement agreement.” 83 Fed. Reg. at 8671.

13
     E.    EPA General Counsel Reinitiates Process to Withdraw Proposed
14         Determination
15
           89.    On June 26, 2019, EPA General Counsel Matthew Z. Leopold, acting
16
     pursuant to a delegation of authority from the EPA Administrator, see 84 Fed. Reg. at
17
18   45,751, n.1, directed Region 10 to resume its consideration whether to withdraw the

19   2014 Proposed Determination. See Memorandum Re Resuming consideration of the
20
     withdrawal of the July 2014 Proposed Determination to restrict use of the Pebble
21
     Deposit Area as a disposal site, from Matthew Z. Leopold, General Counsel, U.S. EPA,
22
23   to Christopher Hladick, Regional Administrator, Reg. 10, U.S. EPA, undated, at 2–3.

24   Leopold asserted that the suspension of the withdrawal has created “confusion” and that
25
     “lifting the suspension is appropriate.” Id.
26

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           90.    The June 26, 2019 EPA directions came from Leopold, rather than
 1
 2   Administrator Wheeler, because the Administrator formally recused himself pursuant
 3   to Executive Order 13770. See EPA Memorandum from Administrator Wheeler,
 4
     Subject: Updated Recusal Statement, March 20, 2019, at 1.
 5
 6   F.    EPA Decision to Withdraw the Proposed Determination

 7
           91.    A month later, on July 30, 2019, EPA announced that it was withdrawing
 8
     its Proposed Determination. See EPA, News Release, EPA Withdraws Outdated,
 9
10   Preemptive Proposed Determination to Restrict Use of the Pebble Deposit Area as a

11   Disposal Site, July 30, 2019, https://www.epa.gov/newsreleases/epa-withdraws-
12   outdated-preemptive-proposed-determination-restrict-use-pebble-deposit.
13
     EPA formally withdrew the Proposed Determination in a decision signed July 30, 2019,
14
15   and published in the Federal Register on August 30, 2019. 84 Fed. Reg. 45,749

16   (Aug. 30, 2019). EPA did not provide a new opportunity for public comment.
17         92.    EPA’s decision to withdraw the Proposed Determination is a final agency
18
     action. See 40 C.F.R. § 231.5(c)(1).
19
20         93.    In its decision to withdraw the Proposed Determination, EPA

21   acknowledges that two of EPA’s rationales for withdrawal in 2017 to provide additional
22   time for PLP to submit a permit application and to allow for Corps review of that permit
23
     application no longer apply.
24
           94.    Instead, EPA justifies its decision to withdraw based on “the need for any
25
26   final EPA 404(c) decision to be based on the entire record,” and the fact that “the

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     Proposed Determination which in its current form does not account for the full record
 1
 2   and does not grapple with differing conclusions … should not serve as a basis for such
 3   a decision.” 84 Fed. Reg. at 45,754. Second, EPA asserts that “there are other processes
 4
     available now, including the 404(q) MOA process, for EPA to resolve any issues with
 5
     the Corps as the record develops.” Id.
 6
 7         95.    EPA also notes that “EPA is not seeking to resolve any conflicting

 8   preliminary conclusions of the Agencies or conclusively address the merits of the
 9
     underlying technical issues.” 84 Fed. Reg. at 45,754. Further, EPA states that “EPA is
10
     not basing its decision-making on technical consideration or judgments about whether
11
12   the mine proposal will ultimately be found to meet the requirements of the 404(b)(1)

13   Guidelines or results in ‘unacceptable adverse effects’ under CWA Section 404(c).” Id.
14
     at 45,756.
15
           96.    In withdrawing the decision without any further public process, EPA
16
17   claims that “EPA has satisfied all of the procedural requirements for withdrawing a

18   proposed determination provided in [the 404(c) regulations].” 84 Fed. Reg. at 45,756.
19
           97.    EPA’s rationale for withdrawing the Proposed Determination is directly
20
     contrary to the rationale EPA stated in its 2018 Suspension Decision not to withdraw
21
22   the Proposed Determination.

23         98.    EPA’s 2018 decision not to withdraw the Proposed Determination
24
     expressly states:
25
26

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           As previously noted, the Corps has already initiated its permit review process
 1
           for PLP's application. Even if EPA leaves the Proposed Determination in place
 2         at this time, EPA will provide PLP with nearly three and a half years (unless
           a final EIS for the project is noticed sooner) to advance through the permit
 3         review process before Region 10 could forward a signed Recommended
 4         Determination to EPA Headquarters, if such a decision is made. Thus, in light
           of EPA's forbearance from proceeding to the next step of the section 404(c)
 5         process until a later time as described above, EPA concludes that the factual
           record regarding the permit application can develop notwithstanding the
 6
           Proposed Determination. EPA has discretion to consider that factual record
 7         after it has been further developed before Region 10 determines whether to
           forward a signed Recommended Determination to EPA Headquarters and, if
 8         such a decision is made, to determine the contents of such a Recommended
 9         Determination. As such, this reason does not support withdrawal of the
           Proposed Determination at this time.
10
11   83 Fed. Reg. at 8,670.

12         99.    In withdrawing the Proposed Determination, EPA did not acknowledge or
13   explain its direct reversal in position from its 2018 decision to not withdraw the
14
     Proposed Determination.
15
16   G.    PLP’s Proposed Mine is Much Larger than the EPA-Reviewed 0.25 Mining
           Scenario
17
18         100. EPA based the Proposed Determination restrictions on the 0.25-billion-ton
19   mining scenario, which is the smallest mine scenario that the agency considered.
20
     Proposed Determination at ES-5 to ES-6.
21
22         101. PLP’s 404 permit application is for a 1.44 billion ton mine. 2018 Project

23   Description at 1.
24         102. The 0.25 mining scenario included a 20-year mining plan, extracting
25
     31,100 tons of ore per day. Proposed Determination at 2-16. PLP’s 2018 amended 404
26

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     permit application proposed a mine with a milling rate of 180,821 tons of ore per day.
 1
 2   2018 Project Description at 1. This is almost six times larger than the amount associated
 3   with the smallest mining scenario that EPA reviewed and found posed unacceptable
 4
     adverse effects.
 5
           103. The 0.25 mining scenario included a total surface area (including the mine
 6
 7   pit, waste rock pile and tailings storage facility) of 4.09 square miles. Proposed

 8   Determination at 2-16. The total footprint of PLP’s proposed mine (Alternative 1 in the
 9
     draft EIS) is 12.6 square miles. Draft EIS at 2-120. This is approximately three times
10
     larger than the smallest mining scenario that EPA reviewed and found posed
11
12   unacceptable adverse effects.

13
     H.    EPA Has Expressed Significant Concerns as a Cooperating Agency in the
14         NEPA Review Process for PLP’s Proposed Mine
15
           104. On July 1, 2019, during a concurrent public comment period on the Corps’
16
     Public Notice of PLP’s Section 404 permit application and the Corps’ draft EIS for the
17
18   proposed project, EPA submitted comments under both the CWA and NEPA. Letter

19   from Regional Administrator Hladick to Colonel Borders, re Public Notice POA-2017-
20
     0271 for a CWA Section 404 permit, July 1, 2019 (“EPA DEIS CWA Comments”);
21
     Letter from Regional Administrator Hladick to Shane McCoy, Program Manager, U.S.
22
23   Army Corps of Engineers, Alaska District, re U.S. Army Corps of Engineers’ February

24   2019 Draft Environmental Impact Statement for the Pebble Project (CEQ Number
25
26

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     20190018; EPA Region 10 Project Number 18-0002-COE), July 1, 2019 ( “EPA DEIS
 1
 2   NEPA Comments”).
 3         105. EPA’s DEIS CWA Comments found: “the values of the potentially
 4
     affected aquatic resources in this case are among the highest evaluated under CWA
 5
     Section 404 and support important commercial, sport, and subsistence fisheries for
 6
 7   salmon and other fishes . . . The EPA has concerns regarding the extent and magnitude

 8   of the substantial proposed impacts to streams, wetlands, and other aquatic resources
 9
     that may result, particularly in light of the important role these resources play in
10
     supporting the region’s valuable fishery resources.” EPA DEIS CWA Comments at 3.
11
12         106. EPA’s DEIS CWA Comments stated that “the nature and extent of the

13   proposed discharges acknowledged in the DEIS reflect some of the most highly
14
     significant and complex discharge activities with the potential for serious adverse
15
     impact contemplated by the Guidelines. For these reasons, the level of information,
16
17   evaluation, and documentation necessary for this project to demonstrate compliance

18   with the Guidelines is significant.” EPA DEIS CWA Comments at 9.
19
           107. EPA’s DEIS CWA Comments concluded that “[o]ur review finds that the
20
     [Public Notice], DEIS, and supporting documents do not contain sufficient information
21
22   to address the factual determinations required by 40 C.F.R. § 230.11 and to make a

23   reasonable judgment that the proposed discharges will comply with the [404(b)(1)]
24
     Guidelines under 40 C.F.R. § 230.12.6.” EPA DEIS CWA Comments at 12. EPA also
25
26

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     noted that the DEIS “likely underestimates the extent, magnitude, and permanence of
 1
 2   the adverse effects . . . .” Id.
 3
     I.     EPA Review under 404(q)
 4
 5          108. In EPA’s DEIS CWA Comments, EPA also provided notice to the Corps,

 6   under Section 404(q) of the CWA: “Pursuant to the field level procedures outlined in
 7
     Part IV, paragraph 3(a) of the 1992 Memorandum of Agreement (MOA) between EPA
 8
     and the Department of the Army regarding CWA Section 404(q), Region 10 finds that
 9
10   this project as described in the [Public Notice] may have substantial and unacceptable

11   adverse impacts on fisheries resources in the project area watersheds, which are aquatic
12   resources of national importance.” EPA DEIS CWA Comments at 3 and 55.
13
            109. EPA further stated: “The EPA recognizes that the standard set out in the
14
15   MOA is similar to the Section 404(c) standard. However, Region 10’s decision to utilize

16   the coordination procedures under the MOA is not a decision regarding its Section
17   404(c) action and should not be interpreted as such. The EPA has not made a decision
18
     regarding whether to withdraw the 2014 Proposed Determination or leave it in place.
19
20   Region 10 is coordinating under the MOA at this time to ensure that the EPA can

21   continue to work with the Corps to address concerns raised during the permitting
22   process.” EPA DEIS CWA Comments at 55.
23
            110. Pursuant to the MOA, once a letter is sent under paragraph 3(a), the
24
     Regional Administrator has 25 calendar days after the end of the public comment period
25
26   to notify the District Engineer by letter that “the discharge will have a substantial and

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     unacceptable impact on aquatic resources of national importance.” See 1992 MOA at
 1
 2   Part IV, 3(b).
 3         111. On July 25, 2019, EPA sent a letter to the Corps requesting an extension
 4
     of the timeline provided in the MOA. Letter from Matthew Z. Leopold, EPA General
 5
     Counsel, to the Hon. R.D. James, Assistant Secretary of the Army, July 25, 2019
 6
 7   (“Leopold 7/25/19 Letter”), at 2. EPA identified that “[u]nder the current timeline

 8   provided in the MOA, EPA would need to make a decision about whether to send a
 9
     letter under paragraph 3(b) on or before July 26, 2019.” Id.
10
           112. In the July 25, 2019 letter, EPA stated: “Given the significance of the
11
12   project, substantive issues raised in EPA’s comment letters on the Alaska District’s

13   DEIS and 404 [Public Notice] as well as the number of other comments received by the
14
     District which the Corps must devote resources to considering, EPA recognizes that it
15
     is not practicable for the Corps to engage in the activities described above in the 25
16
17   calendar days contemplated by MOA. As a result, we request your acknowledgement

18   that under the particular circumstances here, fulfilling each of our agency’s roles under
19
     the statute, regulations and MOA warrants taking more time for additional engagement
20
     in the 404(q) process.” Leopold 7/25/19 Letter at 2. EPA requested that the EPA and
21
22   the Corps “extend the deadline described in paragraph 3(b) beyond the 25 days

23   contemplated in 404(q) MOA for this project.” Id. Specifically, EPA sought “an
24
     extension of the deadline to send a letter under paragraph 3(b) of the 404(q) MOA to 30
25
26

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     days after the Corps provides EPA with the preliminary drafts of decision documents,
 1
 2   draft permit and Record of Decision, for its consideration.” Id.
 3         113. On July 26, 2019, Assistant Secretary of the Army R.D. James replied to
 4
     EPA’s request for an extension. See Letter from R.D. James, Assistant Secretary of the
 5
     Army, to Matthew Z. Leopold, EPA General Counsel, July 26, 2019 (“James 7/26/19
 6
 7   Letter”). The Corps agreed to an extension on a much shorter timeframe of ninety

 8   calendar days and prior to completion of draft decision documents. Id.
 9
           114. The Corps anticipates issuing a Record of Decision in the summer of 2020.
10
     See U.S. Army Corps of Engineers, Pebble Project EIS, EIS Schedule,
11
12   https://pebbleprojecteis.com/schedule.

13                                   VI. FIRST CLAIM
14
     A.    EPA’s Withdrawal Decision Is Not Supported by the Record and EPA
15         Failed to Acknowledge and Explain Its Reversal
16
           (Violation of 33 U.S.C. § 1251 et seq. and 5 U.S.C. § 706)
17
18         115. Plaintiffs re-allege and incorporate by reference the allegations made in all

19   preceding paragraphs.
20         116. EPA stated that it decided to withdraw the Proposed Determination
21
     because (1) “there is new information that has been generated since 2014,” and
22
     (2) “there are other processes, including the 404(q) MOA process, for EPA to resolve
23
24   any issues with the Corps as the record develops.” 84 Fed. Reg. at 45,753–45,754.
25
26

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           117. Neither new information, nor the 404(q) process, support EPA’s decision
 1
 2   to withdraw the Proposed Determination. EPA failed to articulate a rational connection
 3   between the facts found and the decision made, rendering its decision to withdraw
 4
     arbitrary and capricious.
 5
           118. Under EPA’s regulations implementing 404(c), the record includes all
 6
 7   information obtained during the 404(c) process, including the administrative record for

 8   any 404 permit developed by the Corps. See 40 C.F.R. § 231.5(e).
 9
           119. Because all information obtained by EPA and the Corps since EPA issued
10
     its Proposed Determination is part of the 404(c) record, it is properly before EPA when
11
12   making a decision to withdraw or finalize the Proposed Determination. Consequently,

13   new information cannot be a basis for EPA’s decision to withdraw the Proposed
14
     Determination.
15
           120. Nothing under the CWA, EPA’s implementing regulations or guidance
16
17   precludes EPA from maintaining the Proposed Determination while the 404(q) process

18   moves forward and both EPA and the Corps evaluate the proposed project.
19
           121. In its 2018 decision not to withdraw the Proposed Determination, EPA
20
     found that good cause existed to leave the Proposed Determination in place pending
21
22   completion of the 404 permit review under the CWA and the associated environmental

23   review of the proposed project under NEPA.
24
25
26

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           122. Because the 404(c) process can be suspended for good cause pending
 1
 2   review of the permit and analysis pursuant to NEPA, EPA’s decision to withdraw
 3   because there is a 404(q) process underway is arbitrary.
 4
           123. EPA’s 2018 decision not to withdraw the Proposed Determination was an
 5
     agency policy position, made after public notice and comment and published in the
 6
 7   Federal Register.

 8         124. In withdrawing its Proposed Determination, the EPA failed to
 9
     acknowledge and explain the reversal of its conclusions in its prior 2018 decision not to
10
     withdraw the Proposed Determination, specifically (a) that good cause existed to extend
11
12   regulatory timelines; (b) that the Proposed Determination did not impede development

13   of the factual record associated with permit review, and that EPA has the discretion to
14
     consider that factual record, and thus development of the factual record did not support
15
     withdrawal of the Proposed Determination; and (c) that EPA would address substantive
16
17   issues underlying the Proposed Determination before making a final 404(c) decision.

18         125. In withdrawing its Proposed Determination, the EPA also failed to
19
     acknowledge and explain its reversal of the conclusion made three weeks before in
20
     EPA’s DEIS Comments that Pebble Mine’s proposed discharges were “highly
21
22   significant and complex discharge activities with the potential for serious adverse

23   impact contemplated by the [404(b)(1)] Guidelines.” EPA DEIS CWA Comments at 3.
24
25
26

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           126. For the reasons identified above, EPA’s decision to withdraw the Proposed
 1
 2   Determination is arbitrary, capricious, an abuse of discretion, or otherwise not in
 3   accordance with law. 5 U.S.C. § 706.
 4
           127. The EPA’s failure to provide a reasoned explanation for its reversal in
 5
     agency position is arbitrary, capricious, an abuse of discretion, or otherwise not in
 6
 7   accordance with law. 5 U.S.C. § 706.

 8                                VII. SECOND CLAIM
 9
     A.    EPA Improperly Relied on Factors which Congress Has Not Intended It to
10         Consider and Failed to Consider Relevant Key Factors
11
           (Violation of 33 U.S.C. § 1251 et seq. and 5 U.S.C. § 706)
12
13         128. Plaintiffs re-allege and incorporate by reference the allegations made in all

14   preceding paragraphs.
15
           129. EPA failed to consider the substantive findings it made in support of its
16
     Proposed Determination when it withdrew the Proposed Determination.
17
18         130. EPA also failed to consider the findings made in EPA’s DEIS CWA

19   Comments, that “the [Public Notice] DEIS, and supporting documents do not contain
20
     sufficient information to address the factual determinations required by 40 C.F.R.
21
     § 230.11 and to make a reasonable judgment that the proposed discharges will comply
22
23   with the [404(b)(1)] Guidelines under 40 C.F.R. § 230.12.”               EPA DEIS CWA

24   Comments at 12.
25
26

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           131. EPA’s decision to withdraw the Proposed Determination fails to
 1
 2   acknowledge, or consider, the project’s compliance with the 404(b)(1) Guidelines.
 3         132. EPA’s decision to withdraw the Proposed Determination fails to
 4
     acknowledge, or consider, the fact that it has found that the project may have substantial
 5
     unacceptable adverse impacts.
 6
 7         133. EPA unlawfully precluded science and technical information from its

 8   decision to withdraw when it issued its July 19, 2017 public notice, stating that it was
 9
     “not soliciting comment on the proposed restrictions or science or technical information
10
     underlying the Proposed Determination.” 82 Fed. Reg. at 33,124; see also 84 Fed. Reg.
11
12   at 45,756.

13         134. EPA unlawfully precluded science and technical information from its
14
     decision to withdraw when it stated in its August 30, 2019 public notice that such
15
     information “remains outside the bounds of EPA’s basis for its decision.” 84 Fed. Reg.
16
17   at 45,756.

18         135. Because compliance with the 404(b)(1) Guidelines and whether the project
19
     poses unacceptable adverse impacts are important and key aspects of 404(c) review,
20
     EPA’s failure to consider these aspects when withdrawing the Proposed Determination
21
22   is arbitrary, capricious, an abuse of discretion, or otherwise not in accordance with law.

23   5 U.S.C. § 706.
24
                                VIII. REQUEST FOR RELIEF
25
           WHEREFORE, Plaintiffs request that the Court grant the following relief:
26

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           A.     Declare that EPA’s withdrawal of the Proposed Determination is arbitrary,
 1
 2   capricious, an abuse of discretion, and not in accordance with law, in violation of the
 3   CWA and the APA;
 4
           B.     Vacate and set aside EPA’s withdrawal of the Proposed Determination;
 5
           C.     Enter appropriate injunctive relief;
 6
 7         D.     Award Plaintiffs all reasonable costs and attorney’s fees as authorized by

 8   law; and
 9
           E.     Award Plaintiffs such other relief as this Court deems just and proper.
10
11         DATED this 8th day of October, 2019.
12
                                              SUMMIT LAW GROUP PLLC
13                                            Attorneys for Bristol Bay Economic
14                                            Development Corporation, Bristol Bay Native
                                              Association, Inc. and Bristol Bay Reserve
15                                            Association
16                                            By: s/ Jeffrey M. Feldman
17                                            Jeffrey M. Feldman (AK Bar No. 7605029)

18                                            YARMUTH LLP
19                                            Also Attorneys for Bristol Bay Economic
                                              Development Corporation, Bristol Bay Native
20                                            Association, Inc. and Bristol Bay Reserve
                                              Association
21
22                                            By: s/ Ralph H. Palumbo
                                              Ralph H. Palumbo, Pro Hac Vice pending
23                                             (WA Bar No. 4751)
                                              By: s/ Lynn M. Engel
24
                                              Lynn M. Engel, Pro Hac Vice pending
25                                             (WA Bar No. 21934)
26

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                                     NATIVE AMERICAN RIGHTS FUND
 1
                                     Attorneys for United Tribes of Bristol Bay
 2
                                     By: s/ Megan R. Condon
 3                                   Megan R. Condon (AK Bar No. 1810096)
 4                                   By: s/ Matthew N. Newman
                                     Matthew N. Newman (AK Bar No. 1305023)
 5
                                     HOLMES, WEDDLE & BARCOTT
 6
                                     Attorney for Bristol Bay Regional
 7                                   Seafood Development Association, Inc.

 8                                   By: s/ Scott Kendall
 9                                   Scott Kendall (AK Bar. No. 0405019)

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